  Case 15-24360       Doc 27    Filed 11/12/15 Entered 11/13/15 08:40:51              Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                          )           BK No.:      15-24360
Henry Johnson                                   )
                                                )           Chapter: 13
                                                )
                                                            Honorable Janet S. Baer
                                                )
                                                )
                Debtor(s)                       )

                             Order Sustaining Objection to Proof of Claim
                             Filed by Indiana Department of Revenue (5-1)

       This cause coming to be heard on the objection of the Debtor, by and through his attorney,
Joseph P. Doyle, due notice being given, and the Court being duly advised of the premises,

  IT IS HEREBY ORDERED THAT:

  A. The Debtor's objection to Claim 5-1 is sustained.

  B. Claim 5-1 is disallowed in its entirety.




                                                         Enter:


                                                                  Honorable Janet S. Baer
Dated: November 12, 2015                                          United States Bankruptcy Judge

 Prepared by:
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